
81 So.3d 610 (2012)
Ruth N. SACK, Appellant,
v.
Andrea BAMBERG, trustee of the Cyril M. Sack Irrevocable Trust dated May 22, 2006 Andrea Bamberg, individually, Louis Bamberg, individually, Appellees.
No. 3D11-734.
District Court of Appeal of Florida, Third District.
March 7, 2012.
*611 Richard J. Burton, Miami, and Peter J. Solnick, Aventura, for appellant.
Paul A. Krasker and Marshall J. Osofsky, West Palm Beach, for appellees.
Before CORTIÑAS, EMAS, and FERNANDEZ, JJ.
CORTIÑAS, J.
We affirm the trial court's denial of prejudgment interest in this case as no damages were awarded in Plaintiff's favor. See Argonaut Ins. Co. v. May Plumbing Co., 474 So.2d 212 (Fla.1985). While an action in contract or tort may give rise to an award of damages and a concomitant prejudgment interest award, a suit for declaratory relief may award only rights, for which no prejudgment interest is available.
Affirmed.
